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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW HAMPSHIRE

      UNITED STATES OF AMERICA                        )
                                                      )
                     V.                               )                  No.24-CR-03-SM
                                                      )
      DENNIS DREW                                     )


    FILED - USDC
    2025pIAR13pm3:02                       PLEA AGREEMENT

             Pursuant to Rule 11(c)(1)(B)ofthe Federal Rules of Criminal Procedure,the United

      States of America by its attorney, John J. McCormack,Acting United States Attorney for the

      District ofNew Hampshire, and the defendant, Dennis Drew,and the defendant’s attorney.

      Richard Guerriero, Esquire, enter into the following Plea Agreement:

             1. The Plea and the Offense.

             The defendant agrees to plead guilty to Count 1 ofthe Indictment that charges him with

      Conspiracy to Distribute a Controlled Substance, specifically, methamphetamine,a Schedule II

      controlled substance, in violation of21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

             In exchange for the defendant’s guilty plea,the United States agrees to the sentencing

      stipulations identified in Section 6 ofthis agreement.

             2. The Statute and Elements ofthe Offense.

             Title 21, United States Code, Section 846 provides,“Any person who attempts or

      conspires to commit any offense defined in this subchapter shall be subject to the same penalties

      as those prescribed for the offense,the commission of which was the object ofthe attempt or

      conspnacy.

             The defendant imderstands that conspiracy has the following elements, each of which the


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  United States would be required to prove beyond a reasonable doubt at trial;

 First, that the apement specified in the Indictment, and not some other agreement or
 agreements, existed between at least two people to distribute or possess with intent to distribute
 controlled substances; and


 Second, that the defendant williully joined the agreement.

 Pattern Criminal Jury Instructions for the District Courts of the First Circuit. District of Main^
 Internet Site Edition 2024 Revisions, Instruction 4.18.371(1), 4.21.846,
 https://www.med.uscourts.gov/sites/med/files/crDiiLinks.pHf

     Title 21, United States Code Section 841(a)(1) provides, in pertinent part:

    (a) Unlawful acts


 Except as authorized by this subchapter, it shall be unlawful for any person knowingly or
 intentionally—


    (1) to manufacture, distribute, or dispense, or possess with intent to manufacture, distribute
        or dispense, a controlled substance.

        The defendant understands that the offense of distribution of a controlled substance has

the following elements:

Fir^, the defendant transferred a controlled substance to another person;

Second, the defendant knew that the substance was a controlled substance; and

Third, the defendant acted intentionally, that is, that it was his conscious object to transfer the
controlled substance to another person.

Mem Criminal Jury Instructions for the District Courts of the First Circnit. District nf Maine
Internet Site Editioa 2024 Revisions, Instruction 4.21.841(a)(l)B,
https://www.med.uscourts.gov/sites/med/fiIes/crDiiLinkspHf

       3. Offense Conduct.


       The defendant stipulates and agrees that if this case proceeded to trial, the government

would introduce evidence ofthe following facts, which would prove the elements of the offense

beyond a reasonable doubt:


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         In the fall of2022, the Federal Bureau ofInvestigation (“FBI”) New Hampshire Major

 Offender Task Force(“NH MOTF”)and the New Hampshire State Police(“NHSP”)began

 investigating Thomas Conway and his co-conspirators for distribution of methamphetamine in

 New Hampshire. During the investigation, the Court authorized wire interceptions of Conway’s

 text messages and phone calls. On March 23,2023,investigators intercepted a phone call

 between Conway and co-conspirator Matthew Schnell about obtaining methamphetamine.

 Schnell told Conway to obtain money from the defendant. On March 24, 2023,investigators

 intercepted a phone call between Schnell and Conway, wherein Schnell told Conway that the

 defendant was staying at a hotel in Tilton, New Hampshire, and that Conway should obtain

 money from the defendant and bring it to Schnell’s hometown of Bellingham, Massachusetts.

The following day, investigators intercepted another phone call between Schnell and Conway,

wherein Schnell told Conway to pick up the defendant and complete the transaction at a gas

station. Schnell stated that, “it is packed in aviation grease and is straight from the border.”

Based on this conversation, investigators believed that Schnell planned to give Conway the

methamphetamine, who would then sell it to the defendant.

       Investigators monitoring the phone calls advised the NHSP Mobile Enforcement Team

about the arranged drug transaction. Investigators conducting surveillance of the Tilton hotel

observed Conway and the defendant meet, enter Conway’s car, and drive away. When Conway

and the defendant returned, the defendant entered the hotel. NHSP troopers approached the

defendant and began conversing with him. The NHSP troopers observed a bulge in the

defendant’s pocket and asked to retrieve it. The defendant agreed. The Drug Enforcement

Laboratory tested the contents and confirmed it to be 444 grams of methamphetamine.


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                Penalties, Special Assessment and Restitution.

         The defendant understands that the penalties for the offense are:
         A.
                   A maximum prison term of20 years(21 U.S.C. § 841(b)(1)(C));
        B.
                   A maximum fine of$1,000,000(21 U.S.C. § 841(b)(1)(C));
        C.
                  A term of supervised release of at least 3 years and as much as life (21
                  U.S.C. § 841(b)(1)(C)). The defendant understands that the defendant’s
                  failure to comply with any ofthe conditions ofsupervised release may
                  result in revocation ofsupervised release, requiring the defendant to serve
                  in prison all or part of the term of supervised release, with no credit for
                  time already spent on supervised release; and
        D.
                  A mandatory special assessment of$100,$100 for each count of conviction, at or
                  before the time of sentencing(18 U.S.C. § 3013(a)(2)(A)).
        5. Sentencing and Application ofthe Sentencing Guidelines.


        The defendant understands that the Sentencing Reform Act of 1984 applies in this case

and that the Court is required to consider the United
                                                        States Sentencing Guidelines as advisoiy
guidelines. The defendant fiirther understands that he has no right to withdraw from this Plea

Agreement if the applicable advisory guideline range or his sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall:

       A.        Advise the Court of any additional, relevant facts that are presently known
                 or may subsequently come to their attention;
       B.        Respond to questions from the Court;
       C.
                 Correct any inaccuracies in the pre-sentence report;
       D.        Respond to any statements made by him or his counsel to a probation
                 officer or to the Court.

       The defendant understands that the United States and the Probation Office may address


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 the Court with respect to an appropriate sentence to be imposed in this case.

         The defendant acknowledges that any estimate of the probable sentence or the probable

 sentencmg range under the advisory Sentencing Guidelines that he may have received from any

 source is only a prediction and not promise as to the actual sentencing range under the
                                                                                         advisory

 Sentencing Guidelines that the Court will adopt.

           Sentencing Stipulations and Agreements.

        Pursuant to Fed. R. Crim. 11(c)(1)(B), the United States and the defendant stipulate and

 agree that the United States will recommend that the defendant be sentenced at the bottom of the

applicable advisory sentencing guidelines range as determined by the Court.

        The defendant understands that the Court is not bound by the foregoing agreements and,

with the aid of a pre-sentence report, the Court will determine the facts relevant to sentencing.

The defendant also understands that if the Court does not accept any or all ofthose agreements,

such rejection by the Court will not be a basis for the defendant to withdraw his guilty plea.

       The defendant understands and agrees that the United States may argue that other

sentencing enhancements should be applied in determining the advisory guideline range in this

case, and he is permitted to object to them.

       The United States and the defendant are free to make recommendations with respect to

the terms of imprisonment, fines, conditions of probation or supervised release, and any other

penalties, requirements, and conditions ofsentencing as each party may deem lawfiil and

appropriate, unless such recommendations are inconsistent with the terms of this Plea

Agreement.




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            7. Acceptance of Responsihility

            The United States agrees that it will not oppose an appropriate reduction in the

 defendant's adjusted offense level, under the advisory Sentencing Guidelines, based upon the

 defendant’s apparent prompt recognition and affirmative acceptance of personal responsibility

 for the offense. The United States, however, may oppose any adjustment for acceptance of

 responsibility ifthe defendant;

        A.
                  Fails to admit a complete factual basis for the plea at the time he is
                  sentenced or at any other time;

        B.
                  Challenges the United States’ offer of proof at any time after the plea is
                  entered;

        C.        Denies involvement in the offense;

        D.        Gives conflicting statements about that involvement or is untruthful with
                  the Court, the United States or the Probation Office;
        E.        Fails to give complete and accurate information about his financial status
                  to the Probation Office;

        F.
                  Obstructs or attempts to obstructjustice, prior to sentencing;
        G.
                 Has engaged in conduct prior to signing this Plea Agreement which
                 reasonably could be viewed as obstruction or an attempt to obstruct
                 justice, and has failed to fully disclose such conduct to the United States
                 prior to signing this Plea Agreement;

       H.        Fails to appear in court as required;

       I.
                 After signing this Plea Agreement, engages in additional criminal conduct;
                 or

       J.
                 Attempts to withdraw his guilty plea.

       The defendant understands and agrees that he may not withdraw his guilty plea if, for any

ofthe reasons listed above, the United States does not recommend that he receive a reduction in


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  his sentence for acceptance ofresponsibility.

            The defendant also understands and agrees that the Court is not required to reduce the

  offense level if it finds that he has not accepted responsibility.

            Ifthe defendant’s offense level is sixteen or greater, and he has assisted the United States

 in the investigation or prosecution of his own misconduct by timely notifying the United States

 of his intention to enter a plea of guilty, thereby permitting the United States to avoid preparing

 for trial and permitting the United States and the Court to allocate then- resources efficiently, the

 United States will move, at or before sentencing, to decrease the defendant’s base offense level

 by an additional one level pursuant to U.S.S.G. § 3El.l(b).

            8. Waiver of Trial Rights and Consequences of Plea.

            The defendant understands that he has the right to be represented by an attorney at every

 stage ofthe proceeding and, if necessary, one will be appointed to represent him. The defendant

also understands that he has the right:

           A.
                   To plead not guilty or to maintain that plea if it has already been made;
           B.      To be tried by a jury and, at that trial, to the assistance of counsel;

           C.      To confi-ont and cross-examine witnesses;
           D.
                   Not to be compelled to provide testimony that may incriminate him; and

           E.     To compulsoiy process for the attendance of witnesses to testify in his
                  defense.


           The defendant understands and agrees that by pleading guilty he waives and gives up the

foregomg rights and that upon the Court’s acceptance of his guilty plea, he will not be entitled to
a trial.


           The defendant understands that if he pleads guilty, the Court may ask him questions

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 about the offense, and if he answers those questions falsely under oath, on the record, and in the

 presence of counsel, his answers will be used against him in a prosecution for peijuiy or making

 false statements.


         9. Acknowledgment of Guilt: Voluntariness of Plea.

         The defendant understands and acknowledges that he:

         A.
                Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
                he is guilty;

        B.
                Is entering into this Plea Agreement without reliance upon any promise or benefit of any
                kind except as set forth in this Plea Agreement or revealed to the Court;

        C.
                Is entering into this Plea Agreement without threats, force, intimidation,or coercion;

        D.
                Understands the nature of the offense to which he is pleading guilty,
                including the penalties provided by law; and

        E.
                Is completely satisfied with the representation and advice received from
                his undersigned attorney.

        10. Scone of Agreement.


        The defendant acknowledges and understands that this Plea Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The

defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from his guilty plea. The defendant further

acknowledges that this Plea Agreement has been reached without regard to any civil tax matters

that may be pending or which may arise involving the defendant.

        11- Collateral Consequences.

       The defendant understands that as a
                                             consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived of certain federal benefits and certain rights, such as the right



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 to vote, to hold public office, to serve on a jury, or to possess firearms.

         The defendant understands that, if he is not a citizen of the United States, his guilty plea

 to the charged offense will likely result in him being subject to immigration proceedings and

 removed fi-om the United States by making him deportable, excludable, or inadmissible. The

 defendant also understands that if he is a naturalized
                                                          citizen, his guilty plea may result in ending

 his naturalization, which would likely subject him to immigration proceedings and possible

 removal from the United States. The defendant understands that the immigration consequences

of this plea will be imposed in a separate proceeding before the immigration authorities. The

defendant wants and agrees to plead guilty to the charged offense regardless of any immigration

consequences of this plea, even if this plea will cause his removal from the United States. The

defendant understands that he is bound by his guilty plea regardless of any immigration

consequences of the plea. Accordingly, the defendant waives any and all challenges to his guilty

plea and to his sentence based on any immigration consequences and agrees not to seek to

withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack challenging his

guilty plea, conviction, or sentence, based on any immigration consequences of his guilty plea.

        12. Satisfaction of Federal Criminal Liability: Breach.

        The defendant’s guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District ofNew Hampshire arising fi-om his participation in the conduct that forms

the basis ofthe indictment in this case.


       The defendant understands and agrees that, if after entering this Agreement, he fails

specifically to perform or fulfill completely each one of his obligations under this Agreement,

fails to appear for sentencing, or engages in any criminal activity prior to sentencing, he will



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 have breached this Agreement.

        If the United States, in its sole discretion, and acting in good faith, determines that the

 defendant committed or attempted to commit any further crimes, failed to appear for sentencing,

 or has otherwise violated any provision ofthis Agreement, the United States will be released

from Its obligations under this Agreement, including, but not limited to, any agreement it made

to dismiss charges, forbear prosecution of other crimes, or recommend a specific sentence or a

sentence within a specified range. The defendant also understands that he may not use his breach

ofthis Agreement as a reason to withdraw his guilty plea or as a basis to be released from his

guilty plea.

        13. Waivers.

        A. Appeal.

        The defendant understands that he has the right to challenge his guilty plea and/or

sentence on direct appeal. By entering into this Plea Agreement the defendant knowingly and

voluntarily waives his right to challenge on direct appeal;

        1.     His guilty plea and any other aspect of his conviction, including, but not
               limited to, adverse rulings on pretrial suppression motion(s) or any other
               adverse disposition of pretrial motions or issues, or claims challenging the
               constitutionality of the statute of conviction; and

       2.      The sentence imposed by the Court if it is within, or lower than, the
               guideline range determined by the Court, or if it is imposed pursuant to a
               minimum mandatory sentence.

       The defendant’s waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date ofthis Plea

Agreement that have retroactive effect; or on the ground ofineffective assistance of counsel.



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         B. Collateral Review.


         The defendant understands that he may have the right to challenge his guilty plea and/or

 sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By

 entering into this Plea Agreement, the defendant knowingly and voluntarily waives his right to

 collaterally challenge:

         1.
                His guilty plea, except as provided below, and any other aspect of his
                conviction, including, but not limited to, adverse rulings on pretrial
                suppression motion(s) or any other adverse disposition of pretrial motions
                or issues, or claims challenging the constitutionality of the statute of
                conviction; and

        2.
                The sentence imposed by the Court if it is within, or lower than, the
                guideline range determined by the Court, or if it is imposed pursuant to a
                minimum mandatory sentence.

        The defendant’s waiver of his right to collateral review does not operate to waive

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing,or on

the ground ofineffective assistance of counsel. The defendant’s waiver of his right to collateral

review also does not operate to waive a collateral challenge based on new legal principles

enunciated by in Supreme Court or First Circuit case law decided after the date of this Plea

Agreement that have retroactive effect.


       C. Freedom ofInformation and Privacy Acts.

       The defendant hereby waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution ofthe case(s) underlying this Plea

Agreement,including without limitation any records that may be sought under the Freedom of

Information Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §522a.



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        D. Appeal by the Government.

        Nothing in this Plea Agreement shall operate to waive the rights or obligations ofthe

Government pursuant 18 U.S.C. § 3742(b)to pursue an appeal as authorized by law.

        14. No Other Promises.

        The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless set forth in writing, signed by all parties, and submitted to the Court.

        15. Final Binding Agreement.

        None of the terms of this Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant’s attorney and until it is signed by

the United States Attorney for the District of New Hampshire, or an Assistant United States

Attorney.

        16.   Agreement Provisions Not Severable.

        The United States and the defendant understand and agree that if any provision ofthis

Plea Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and

void and no part of it may be enforced.


                                                       JOHN J. MCCORMACK
                                                       Acting United States Attorney


Date:              I                               By:
                                                       Heather A. Chemiske
                                                       Assistant United States Attorney
                                                       NH Bar Association #19837
                                                       53 Pleasant St., 4th Floor
                                                       Concord, NH 03301
                                                       Heather.chemiske@usdoj.gov

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        The defendant, Dennis Drew,certifies that he has read this 13-page Plea Agreement and
that he fiilly understands and accepts its terms.


Date:   a<->2
                                                    iTennis Drew, Defendant

       I have read and explained this 13-page Plea Agreement to the defendant, and he has
advised me that he understands and accepts its terms.


Date:              02 -/?
                                                    Richard Guerriero, Esquire   A/^
                                                    Attorney for Dennis Drew




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